  Case 3:18-cv-00302-RGJ Document 33 Filed 03/13/19 Page 1 of 2 PageID #: 83




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF KENTUCKY
                            LOUISVILLE DIVISION
______________________________________________________________________________

 JAMES COLUMBIA, II,                        )
                                            )
 individually, and on behalf of himself and )
 all other similarly situated current and   )
 former employees,                          ) Case No.: 3:18-cv-00302
                                            )
                Plaintiff,                  ) Judge: Rebecca Grady Jennings
                                            ) Magistrate: Dave Whalin
 v.                                         )
                                            ) Jury Demand
 FLOWERS FOODS, INC., and FLOWERS )
 BAKING CO. OF BARDSTOWN, LLC,              )
                                            )
                Defendants.                 )
_____________________________________________________________________________

                STIPULATION OF DISMISSAL WITH PREJUDICE
_______________________________________________________________________________

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Defendants Flowers Foods,

Inc. and Flowers Baking Co. of Bardstown , LLC, (collectively “Defendants”) and Plaintiff James

Columbia, II (“Plaintiff”) (collectively “the parties”) notify the Court that the parties’ settlement

agreement was approved on February 27, 2019, in the consolidated lawsuit Matthew Green, et al.

v. Flowers Foods, Inc., et al., No. 1:19-cv-01021-STA-egb, in the United States District Court for

the Western District of Tennessee, Eastern Division in the order attached as Exhibit 1.

Accordingly, the parties request that the Court dismiss this case with prejudice pursuant to the

proposed Order of Dismissal with Prejudice submitted contemporaneously with this Stipulation of

Dismissal. The parties will bear their own fees and costs, except as otherwise indicated in the

Settlement Agreement.




                                                 1
 Case 3:18-cv-00302-RGJ Document 33 Filed 03/13/19 Page 2 of 2 PageID #: 84




DATED: March 13, 2019        Respectfully submitted,

                             OGLETREE, DEAKINS, NASH,
                             SMOAK & STEWART, P.C.

                             /s/ Wendy V. Miller
                             Wendy Miller, KY Bar No. 96052
                             SunTrust Plaza
                             401 Commerce Street, Suite 1200
                             Nashville, TN 37219-2446
                             Telephone: 615.254.1900
                             Facsimile: 615.254.1908
                             wendy.miller@odnss.com

                             COUNSEL FOR DEFENDANTS FLOWERS FOODS,
                             INC. and FLOWERS BAKING CO. OF
                             BARDSTOWN, LLC

                             GLASSMAN EDWARDS WADE & WYATT, PC

                             Lori J. Keen
                             26 N. Second Street
                             Memphis, TN 38103-2602
                             901-527-4673
                             Fax: 901-521-0940
                             Email: lkeen@gwtclaw.com

                             JACKSON, SHIELDS, YEISER & HOLT

                             /s/ Paula Jackson (w/permission)
                             Gordon Jackson
                             Russ Bryant
                             Paula Jackson
                             262 German Oak Drive
                             Memphis, TN 38018

                             WEINMAN THOMAS LAW FIRM

                             Michael L. Weinman
                             112 S. Liberty Street, Suite 321
                             Jackson, TN 38302

                             COUNSEL FOR PLAINTIFF
                             JAMES COLUMBIA II




                                       2
